                     Case: 3:23-cr-00005-jdp Document #: 1 Filed: 01/12/23 Page 1 of 1
JS 45 (1/ 96) Electronic Version
                                                   Criminal Case Cover Sheet - U.S. District Court

  Place of Offense:                           Related Case Information:     2J        CR        oo5
               City: River Falls                  Superseding              Docket Number
                                                               ----                             -------
   County /Parrish: Pierce County              Same Defendant                       New Defert 'ant
                                                                                           ?7;_  '·, ' -.- - - - -
                                                      Magistrate Judge Case Number '<v'.J ,           ... ,
                                                       Search Warrant Case Number .22-mj-160 /..,           ~ ::J
                                                          R 20 / R40 from District of ·. ~. · '
Defendant information:
                  Matter to be Sealed             ✓ Yes                          No
  Def. Name: Austin Koeckeritz
   Alias Name:
                      -----------------------------------
       City/State: River Falls, WI
 Year of Birth: 1994                           Last 4 digits of SSN 4548
                ---------                                          ----------
          Sex: Male                            Race: White


U.S. Attorney Information:
              TAYLOR L. KRAUS                                   Bar#:
                                                                       ----------------
 Interpreter:   ✓  No        Yes                  List language and/ or dialect:
                                                                                  -------------

Location Status:
Arrest Date:
          Already in Federal Custody as of:                       in
                                                ------
        ✓      Already in State Custody
               On Pretrial Release


U.S.C. Citations:
Total # of Counts:            1                   Petty                Misdemeanor                ✓    Felony
                                                                       Class A
                                                                       Class B
                                                                       Class C

                Index Key/Code                      Description of Offense Charged                    Counts(s)
Set 1    18 U.S.C. § 1589(a),(d)          Forced labor                                                   1
Set 2
Set3
Set4
Set5
Set6



Date:                                       Signature     / s/         TAYLOR L. KRAUS
